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                                   UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

                                          PORTLAND DIVISION

      NABIL KHLAFA,                                                        Case No. 3:23-cv-01013-SI

                     Plaintiff,                         DEFENDANTS’ OREGON HEALTH AND
                                                             SCIENCE UNIVERSITY, DANNY
             v.                                                JACOBS, DARRYL WALKER,
                                                        CATHRYN DAMMEL, ILONA COX, AND
      OREGON HEALTH AND SCIENCE                            SALLYDAY EISELE’S ANSWER TO
      UNIVERSITY, DANNY JACOBS,                                  PLAINTIFF’S COMPLAINT
      DARRYL WALKER, CATHRYN
      DAMMEL, ILONA COX, SALLYDAY                                       JURY TRIAL DEMANDED
      EISELE,

                     Defendants.


             In answer to plaintiff’s Complaint, defendants’ Oregon Health and Science University

      (“OHSU”), Danny Jacobs (“Jacobs”), Darryl Walker (“Walker”), Cathryn Dammel (“Dammel”),

      Ilona Cox (“Cox”), and Sallyday Eisele (“Eisele”), (collectively “defendants”) admit, deny, and

      allege as follows:

             1.      Defendants properly removed this action to federal court.

             2.      Plaintiff is a former employee of OHSU who left employment voluntarily on

      November 16, 2022, pursuant to a settlement agreement.


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              3.      Defendants admit that OHSU is a public entity and teaching facility that

      employed defendants Jacobs, Walker, Cox and Eisele. Defendants further admit that OHSU

      contracted with defendant Dammel to perform an investigation into complaints against plaintiff

      in 2021.

              4.      Defendant OHSU admits that during plaintiff’s employment, he filed various

      complaints with administrative agencies, all of which resulted in a “no cause” finding or a

      finding by the agency that the complaint was unsubstantiated.

              5.      Defendants admit that on November 7, 2022, plaintiff represented by his attorney,

      Russell Gomm, and Darryl Walker, counsel for OHSU, attended a settlement conference.

      Defendants admit that this resulted in plaintiff and OHSU entering into a separation agreement

      and general release. Defendants admit that the separation agreement and general release were

      entered into voluntarily by plaintiff, represented by competent counsel. Defendants further admit

      that the terms of the release included an agreement that plaintiff’s employment would voluntarily

      end on November 16, 2022, that plaintiff would receive money for wages and attorney’s fees,

      and in exchange, plaintiff agreed to release all claims of any kind, known or unknown, suspected

      or unsuspected, and/or asserted or unasserted against OHSU and its agents. Defendants further

      admit that the payments due under the separation agreement and general release were paid.

              6.      Except as specifically admitted in paragraphs 1 through 5 above, defendants deny

      each and every remaining allegation in plaintiff’s Complaint and the whole thereof.

                                               FIRST DEFENSE

                                             (Statute of Limitations)

              7.      Plaintiff’s claims are barred by the applicable statutes of limitations.

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                                               SECOND DEFENSE

                             (Settlement/Accord and Satisfaction/Payment/Release)

              8.       All of plaintiff’s claims are barred by the settlement agreement entered on

      November 15, 2022, which resulted from negotiations between the parties and their counsel,

      reflected a meeting of the minds on the same, and for agreed consideration. Defendants

      performed all obligations under the settlement agreement, including full payment of amounts due

      and plaintiff released defendants from any and all claims, including those brought here.

                                                 THIRD DEFENSE

                                                (Equitable Defenses)

              9.       Plaintiff accepted defendant OHSU’s payment and performance under the

      settlement agreement. As a result, his claims are barred in whole by the equitable doctrines of

      laches, waiver, estoppel, and unclean hands.

                                               FOURTH DEFENSE

                                             (Failure to State a Claim)

              10.      Plaintiff fails to allege facts sufficient to constitute a claim against any of the

      individual defendants and OHSU.

                                                 FIFTH DEFENSE

                                               (Additional Defenses)

              11.      Defendants reserve the right to raise additional defenses that may become

      apparent during the course of discovery.

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             WHEREFORE, having fully answered plaintiff’s Complaint, defendants pray for

      judgment in their favor, including an award of costs and disbursements incurred herein.

             DATED this 13th day of July, 2023.



                                                        HART WAGNER, LLP


                                                  By:   /s/ Karen O’Kasey
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                                     CERTIFICATE OF SERVICE

           I hereby certify that on the 13th day of July, 2023, I served the foregoing

    DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT on the following party at the

    following address:

           Nabil Khlafa
           5331 S Macadam Ave
           Suite 258-107
           Portland, OR 97239
           Nabilnoble77@gmail.com
              Pro Se Plaintiff

    by electronic means through the Court’s Case Management/Electronic Case File system.

                                                        /s/ Karen O’Kasey
                                                        Karen O’Kasey




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